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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------X
                                                          :                           10/20/2020
BOARD OF TRUSTEES OF 1199/SEIU                            :
GREATER NEW YORK BENEFIT FUND and :
BOARD OF TRUSTEES OF 1199/SEIU                            :
GREATER NEW YORK EDUCATION                                :              20-CV-6936 (VSB)
FUND,                                                     :
                                                          :                  ORDER
                                         Plaintiffs,      :
                                                          :
                           -against-                      :
                                                          :
MANHATTAN VIEW HEALTH CARE                                :
CENTER,                                                   :
                                                          :
                                         Defendant. :
                                                          :
--------------------------------------------------------- X

VERNON S. BRODERICK, United States District Judge:

         Plaintiffs filed this action on August 27, 2020, (Doc. 1), and filed an affidavit of service

on September 17, 2020, (Doc. 6.) The deadline for Defendant to respond to Plaintiffs’ complaint

was October 1, 2020. (See Doc. 6.) To date, Defendant has not appeared or responded to the

complaint. Plaintiffs, however, have taken no action to prosecute this case. Accordingly, if

Plaintiffs intend to seek a default judgment, they directed to do so in accordance with Rule 4(H)

of my Individual Rules and Practices in Civil Cases by no later than November 20, 2020. If

Plaintiffs fail to do so or otherwise demonstrate that they intend to prosecute this litigation, I may

dismiss this case for failure to prosecute pursuant to Federal Rule of Civil Procedure 41(b).

SO ORDERED.

Dated:       October 20, 2020
             New York, New York                               ________________________________
                                                              VERNON S. BRODERICK
                                                              United States District Judge
